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 3                               UNITED STATES DISTRICT COURT
 4                                      DISTRICT OF NEVADA
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 6    CHUNG LE, NATHAN QUARRY, JON                            Case No. 2:15-cv-01045-RFB-BNW
      FITCH, BRANDON VERRA, LUIS JAVIER
 7    VASQUEZ, and KYLE KINGSBURY, on                                     ORDER
      behalf of themselves and all others similarly
 8    situated,
 9                      Plaintiffs,
10           v.
11    ZUFFA, LLC D/B/A ULTIMATE
      FIGHTING CHAMPIONSHIP AND UFC,
12
                       Defendant.
13
14
15           Before the Court is the Motion to Withdraw as an Interested Party from Litigation by
16    Interested Party Sparacino, PLLC (ECF No. 957).
17           Pursuant to the Motion filed by Sparacino IT IS HEREBY ORDERED that Sparacino,
18    PLLC, is WITHDRAWN and is no longer an interested party in this litigation.
19           IT IS FURTHER ORDERED that the Clerk of Court will update the docket to reflect
20    the withdrawal and termination of Sparacino, PLLC, from this litigation.
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22    DATED: February 23, 2024.
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24                                                          _______________________________
25                                                          RICHARD F. BOULWARE, II
                                                            UNITED STATES DISTRICT JUDGE
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